510 U.S. 1174
    Louisianav.Mississippi et al.
    No. 121, Orig.
    Supreme Court of United States.
    March 7, 1994.
    
      1
      It is ordered that the Honorable Vincent L. McKusick, Retired Chief Justice, Supreme Judicial Court of Maine, be appointed Special Master in this case with authority to fix the time and conditions for the filing of additional pleadings and to direct subsequent proceedings, and with authority to summon witnesses, issue subpoenas, and take such evidence as may be introduced and such as he may deem it necessary to call for. The Special Master is directed to submit such reports as he may deem appropriate.
    
    
      2
      The compensation of the Special Master, the allowances to him, the compensation paid to his legal, technical, stenographic, and clerical assistants, the cost of printing his report and all other proper expenses, including travel expenses, shall be charged against and be borne by the parties in such proportion as the Court may hereafter direct. [For earlier order herein, see, e. g., ante, p. 1036.]
    
    